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Missouri Primate Foundation Faces Lawsuit Over Treatment of Chimpanzees

Posted November 29th, 2016 for People for the Ethical Treatment of Animals f/user/peta

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(Shere [PETA Releases New Video of Primates’ Virtually Barren Prisons--an Alleged=

Violation of the Endangered Species Act

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For Immediate Release:
November 29, 2016

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Festus, Mo. - PETA has sent a letter to the Missouri Primate Foundation (MPF}, aka “Chimparty”’—a
former breeder of chimpanzees for the entertainment industry and pet trade—notifying the Festus-based
facility of its intent to sue under the Endangered Species Act (ESA), which requires plaintiffs to inform
potential defendants of their intent at least 60 days before filing an ESA lawsuit.

A shareable new PETA video reveals that the chimpanzees at MPF are warehoused in filthy, virtually
barren enclosures and denied adequate space in which to climb and roam. In its ietter, PETA contends
that these conditions—including keeping highly social primates in solitary confinement, which applies to at
least one chimpanzee’s case—all constitute unlawful “takes” (i.e., the chimpanzees are harmed or
harassed} in violation of the ESA.

Chimpanzees currently at MPF include Connor, who was used for Hallmark greeting cards that are still on
sale today—and who reportedly bit his handler and tried to attack three other people on the set of his
final photo sheot. The facility also at one point housed Travis the chimpanzee, who was kept as a
*pet”—and was infamously shot and killed after he tore off a woman’s face. And according to an
eyewitness, Tammy, a 32-year-old chimpanzee at MPF, used to scream and frantically search for the
babies who had been taken from her. One of her daughters is believed to be Lisa Marie, who was
exploited in the entertainment industry and lived as a “pet” for years before PETA secured her a place at
the Save the Chimps sanctuary in Florida, where the two could be reunited someday.

“For decades, this despicable outfit was ground zero for

chimpanzees who were bred and sold as props and pets,” says c . . . ~
PETA Foundation Director of Captive Anima! Law Enforcement For decades, this despicable outfit
Brittany Peet. “PETA’s lawsuit seeks to give these chimpanzees the | was ground zero for chimpanzees
opportunity to socialize, climb, roam, play, and finally live like the who were bred and sold as props
intelligent, curious beings they are. and pets,”
PETA—whose motto reads, in part, that “animals are not ours to A é

use for entertainment”—is seeking to have the approximately 16

chimpanzees held at the facility released to accredited sanctuaries and has offered to facilitate their
transfer at no cost to MPF.

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